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   1              IN THE UNITED STATES DISTRICT COURT
   2                    FOR THE DISTRICT OF KANSAS
   3

   4   IN RE: SYNGENTA AG              Master File No.
   5   MIR162 CORN LITIGATION          2:14-MD-02591-JWL-JPO
   6

   7                                   MDL No. 2591
   8
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 10
                 HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
 11
             TAKEN ON BEHALF OF PLAINTIFFS AND DEFENDANTS
 12
 13                           Washington, D.C.
 14                   Wednesday, February 1, 2017
 15                              9:02 a.m.
 16
 17    Reported by:     Donna A. Peterson
 18
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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2                 The videotaped Deposition of HONGJUN
   3    ZHANG, Ph.D., ATTORNEY at LAW, taken at the law
   4   offices of:
   5

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   8                      655 15th Street, N.W.
   9                      Washington, D.C.      20005-5793
  10
  11
  12
  13                 Pursuant to Notice, before Donna Ann
  14   Peterson, Notary Public in and for the District of
  15   Columbia.
  16
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   2    name, but is it Dr. "Jong"?

   3         A.      It's "Zhaung."

   4         Q.      "Zaung."

   5         A.      It's "Zhaung," yeah.

   6         Q.     And you are a native speaker in Mandarin,

   7    is that correct?
   8         A.     That's correct ..
   9         Q.     But you are fluent in English?

  10         A.     That's correct.
  11         Q.     When did you begin learning the English

  12    language?                                                          ;
  13         A.      I begin to learn my English language from
  14    my middle school.
  15         Q.     And that was in China?
  16         A.     That was in China.

  17         Q.     Where in China?
  18         A.      In my hometown, where it now is part of
  19    China.    The city name is called Bai cheng and the
  20    province name is Jilin.
  21         Q.     You are a lawyer, is that correct?

  22         A.     Yes,   I'm a lawyer.

  23         Q.     And you are a partner at a law firm by the

  24    name of Holland & Knight, is that correct?

  25         A.      That's correct.



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   2    part in the very end.      I -- I'm board of director of

   3    Institute of Industry Product -- Productivity.          That

   4    institute, the organization, is in the process of

   5    being dissolved.

   6            Q.   Have you ever testified as a witness in a
   7    case?

   8            A.   No.

   9            Q.   Have you ever served as an expert witness

  10    in a lawsuit?
  11            A.   No.

  12            Q.   Has your practice of law in the United

  13    States required you to attend depositions?
  14            A.   Can you repeat what you mean?

  15            Q.   You're a lawyer.
  16            A.   Yes.

  17            Q.   In the United States.
  18            A.   Uh-huh.

  19            Q.   You're licensed by the bar of the State of

  20   New York, is that correct?
  21            A.   That's correct.

  22            Q.   Not by the bar of the District of

  23    Columbia.
  24            A.   That's correct.

  25         Q.      And during your time as a lawyer in the



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   1     DEPOSITION OF HONGJUN ZHANG,       Ph.D., ATTORNEY at LAW

   2          Q.      Do you know what a pleading is in a
   3    lawsuit?
   4         A.       What's -- pleading?

   5         Q.       Pleading.
   6                  Do you know what a pleading is in a
   7    lawsuit?
   8         A.       I don't know.

   9         Q.      Do you know what a complaint is in a
  10    lawsuit?
  11         A.       Complaint?

  12         Q.      Complaint.
  13         A.      Complaint.

  14         Q.      Do you know what that is?
  15         A.       You know,    it's some -- some term I do,     I

  16    do learn in law school, but I'm not litigation

  17    lawyer,    I cannot give you a concrete definition.

  18         Q.      Did you, to your knowledge, did you read
  19    any of the complaints, any of the answers, any of the
  20   pleadings filed in the Kansas City proceedings in
  21    this litigation?
  22         A.      No,   I did not read any of these.

  23         Q.      Did you read any of the petitions,
  24    complaints, answers or other pleadings that have been
  25    filed in the Minnesota state court proceedings in



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
                                                                             !
   2    this litigation?
   3         A.     No,    I did not read any of those.

   4         Q.     Are there any documents that after

   5    reviewing your report dated December 22, 2016, that

   6    you need to add or change to this list, Exhibit C?
   7         A.     Sorry, can you repeat your question?

   8         Q.     Are there any documents -- scratch that.

   9                Are there any changes to Exhibit C that

  10    you need to note for us today?
  11         A.     No, no.
                                                                             l
  12         Q.     Now, in your report in a number of
  13    locations -- and in particular, I direct you to

  14   paragraph 22, you used the terms "foreign exporters"
  15    or "foreign traders."
  16                I   need to make certain, are -- do you use
  17    those terms interchangeably?      Do they mean the same

  18    thing?
  19         A.     In the paragraph 22, the first and the

  20    second line, right?
                                                                             i


  21         Q.     Yes.                                                    :



  22         A.     Yeah, in this report, I use these terms
                                                                            l
  23    interchangeably, yes.                                               I
  24         Q.     And the two terms that are interchangeable

  25   are "foreign exporters" and "foreign traders,"



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    certificate is a precondition that of trader
   3    certificate.
   4    BY MR. CHANEY:
   5         Q.     You did not investigate, in preparation

   6    for this report, whether any specific foreign

   7    exporter violated Chinese law in any manner, did you?

   8         A.     When you say "investigate," what do you --

   9    what do you mean?
  10         Q.     Did you look at any facts, documents, did

  11    you undertake to analyze whether any specific foreign

  12    exporter violated Chinese law in any manner?
  13         A.      I review the discovery information listed
  14    in the Exhibit C.     That's the only document or
  15    research I did in preparing this report.
  16         Q.     And you're not offering any opinion in

  17    this report that any particular foreign exporter

  18    violated Chinese law in any manner, are you?
  19         A.     I did not intend to apply any information
  20    in my report that relate to a particular case or
  21    whatever.   My report is on the legal requirement of
  22    Chinese law.
  23                MR. CHANEY:    We can take a short break.
  24                THE VIDEOGRAPHER:     Going off the record,
  25    the time is 1:12 p.m.



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    bottom, 33.7?
   3          A.     Oh, 33 -- oh, here, right, 33.7, okay.
   4          Q.    And under 2013, customer amount, 46.2?
   5         A.      Okay.     I found number, yes.
   6         Q.      Got it.
   7                Now, that 33.7 million bushels of U.S.
   8    corn, I'll represent to you that that's more than
   9    850,000 metric tons.
  10                Were you aware that CHS accounted for
  11    almost 20 percent of the 4.3 million metric tons of
  12    U.S. corn exported to China in 2012?
  13         A.     Yeah.      Yeah, I have no knowledge regarding
  14    the information you just described.
  15         Q.     Similarly, based upon those statistics
  16    that we just noted, were you aware that CHS accounted
  17    for element one-third of the 3.6 million metric tons
  18    of U.S. corn exported to China in 2013?
  19         A.      I have no knowledge regarding what you
  20    just describe.
  21         Q.     If any of those bushels of corn that CHS
  22    shipped to China in 2012 and      1
                                              13 failed to disclose
                                                                            .

  23    the presence of MIR 162, but, in fact, did have MIR
  24    162, is i t your opinion that CHS would have violated
  25    Chinese law?



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2                  MR. DeBACKER:     Objection, form.

   3                   THE WITNESS:    Yeah, so I think we discuss

   4    this a few times already.        CHS, as a foreign exporter

   5    or foreign trader or whatever company as a foreign

   6    trader or foreign exporter, if they export unapproved

   7    GMO trait into China, that CHS or whatever foreign

   8    trader or foreign exporter would be in violation of

   9    Chinese law for exporting unapproved GMO trait

  10    contained in the product into China.

  11                  MR. DeBACKER:     Mr. Chaney, I don't mean to

  12    interrupt your questions.        If you want to put your

  13    mic on,     just to make sure the sound gets picked up.

  14                  MR. CHANEY:     Videographer, were you able

  15    to pick up his testimony?

  16                  THE VIDEOGRAPHER:        (Nods.)   Yeah.

  17                  MR. DeBACKER:     Didn't want to have to redo

  18    it.

  19                  MR. CHANEY:     Nor did I.

  20                  THE WITNESS:     Yeah.

  21    BY MR. CHANEY:

  22           Q.     Back to the relationship between Holland                 •



                                                                               ;

  23    and Knight, you, your testimony and Syngenta.

  24                  Did you or someone else at Holland and

  25    Knight sign an engagement letter in connection with



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    your services as an expert in this litigation?
   3            A.     We signed some document.       I am not very
   4    sure that is called the engagement letter or
   5    something.      This is not a typical client-attorney
   6    engagement situation, so I believe my ethical
   7    department have some communication that regarding
   8    this particular matter.        I do -- I do know there were
                                                                               l
   9    some discussion and then there were some documents
  10    signed.                                                                j

  11            Q.     Do you know what those dis -- those
  12    discussions with or involving your ethics department
  13    dealt with, what the subject matter was?
  14            A.     This is regarding the discussion that this
  15    representation, my service on this matter, should not
  16    be something that a typical client-attorney
  17    relationship.      Would be something, I serve as expert
  18    on the matter.
  19            Q.     Are you aware that CHS is currently a
  20    client of Holland and Knight?
  21            A.     I was not aware.    Indeed, I -- you know,
  22    I -- we have a conflict system.         We have to check
  23    conflict system, in order to know whether a
  24   particular company is a client of Holland Knight or
  25    not.



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2          Q.    Did you, in -- in the setting up the
   3    initial engagement in this matter, review the
   4    conflicts report or procedures by which conflicts
   5    were checked by Holland and Knight?
   6         A.     Yeah, I would -- we did review the
   7    conflict check.
   8         Q.     Now, I believe in your report, at
   9    paragraph three, if you turn to that, you say that
  10    your practice       I'm going to read this and ask if
  11    it's correct:     "My practice includes counseling
  12    clients on product import and export, GMO laws,
  13    biotechnology and related issues."
  14         A.     Yeah, that's correct.      That what I --
  15         Q.     And that's correct.
  16         A.     That's what I said.
  17         Q.     And I gather, based on your testimony,
  18    though, that you have never counseled CHS, a client
  19    of Holland and Knight, on its export of products to
  20    China.
  21         A.     Yeah.    I -- I don't know CHS, I never work
  22    for them.   I don't know the company at all.
  23         Q.     Do you know if anyone else at Holland and
  24    Knight advised CHS, between 2011 and '14, regarding
  25    Chinese laws regarding exporting of U.S. corn to



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    expert opinion under Chinese law.
   3            Q.     Are you aware that Syngenta in this

   4    litigation alleges that foreign exporters such as CHS

   5    violated Chinese law?

   6            A.     No,   I was not aware.
   7            Q.     Given that your firm's current and ongoing

   8    representation of CHS, are you comfortable in

   9    maintaining the opinions that you've provided

  10    regarding
  11                   MR. DeBACKER:    Object.
  12                   MR. CHANEY:     -- foreign exporters such as
  13    CHS?
  14                   MR. DeBACKER:    Objection to form.
  15                   THE WITNESS:    Again, my opinion, it's
  16    offered regarding the legal requirement under Chinese
  17    law.     I'm not applying such legal requirement to a
  18    particular company.
  19    BY MR. CHANEY:
  20            Q.     But you understand that your opinions

  21    could have consequences even upon Holland and

  22    Knight's existing client CHS, correct?
  23            A.     You know,   I -- I -- you know, you
  24    mentioned some information regarding CHS.          Again,    I
  25    cannot confirm the information and I'm, as I



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2                 MR. DeBACKER:    Objection, form, calls for
   3    legal conclusion.
   4                 THE WITNESS:    You know, I'm not expert of
   5    legal ethics.     Certainly I follow,   I strictly follow
   6    the ethic rule of -- of New York bar, but I cannot
   7    judge what you just described as expert of -- of
   8    ethic attorney.
   9    BY MR. CHANEY:
  10         Q.      Through your work on this case, have you
  11    become aware that China began rejecting shipments of

  12    U.S. corn in November 2013, due to the presence of
  13    MIR 162?
  14         A.      From reading the discovery materials,
  15    which I list in the Exhibit C, that is my
  16    understanding, China begin to reject certain GMO
  17    product from exporting into China.
  18         Q.      Let me show you what was marked in an

  19    earlier deposition as Exhibit 558, deposition taken

  20    on March 9, 2016.     The document bears production

  21    number SYNG 355899 and it was marked as Exhibit, as I
  22    said, 558.

  23                 It is an e-mail from Chuck Lee, of

  24    Syngenta, to Mr. Berreth, Mr. Morgan, Mr. Pisk,

  25   Mr. Pickering and Ms. Hull.



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2            A.     Who they are?
   3            Q.     And you don't know who any of those are,

   4    but I'll direct your attention to the last bullet

   5    point under the heading Overall Discussion.
   6            A.     Last     last bullet point, okay.
   7            Q.     It says at the end, "Rick Ducic, VP grain

   8    marketing North America, asks if we would compensate

   9    CHS for losses.       Our response was no."

  10                   Were you aware of that meeting or that

  11    conversation in rendering your opinions today?
  12            A.     I was not aware of this conversation at
  13    all.     And just one single point here,      just -- I just
  14    don't have any idea.
  15            Q.     And doesn't that point demonstrate that

  16    CHS and Syngenta have differing interests on the

  17    issues on which you've been asked to opine?
  18                   MR. DeBACKER:    Objection, form,   calls for
  19    a legal conclusion, asked and answered.
  20                   THE WITNESS:    Again,   from just one single
  21    sentence, I have no idea regarding how was the
  22    discussion, what the conversation is, what discussion
  23   was at all, so I cannot make any judgment.
  24    BY MR. CHANEY:
  25            Q.     Do these matters regarding Holland and



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    Knight's representation of CHS, its role as a foreign

   3    exporter and the potential application of your

   4    opinions to its conduct as an exporter of corn to

   5    China raise in your mind any need to discuss with

   6    Holland and Knight, your firm Office of General

   7    Counsel or ethics people, whether you should be

   8    rendering these opinions?

   9         A.      This      your    you provide very long

  10    sentence.    Can you

  11         Q.      Does any of this cause you any concern

  12    that you should contact your firm regarding the

  13    opinions you're expressing today?
  14         A.      You know, as      as I mentioned,    I don't

  15    know whether there were        there were different

  16    interests.    You ask me whether there were different

  17    interests.    I don't know.    And I -- CHS is first time

  18    that a company that I got aware of and, again,          I'm

  19    not testifying about ethical role,      I'm not testifying

  20    about a particular foreign company.

  21                 I attached the Chinese legal requirement

  22    that define in my report.      Other than that,    I will

  23    not testifying anything beyond that what I describe

  24    in the report.

  25         Q.      You think you should make any inquiries



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    regarding these matters?
   3                   MR. DeBACKER:     Objection,   form.

   4                   THE WITNESS:     I -- I -- I -- I don't know.

   5    Certainly I think I should generally talk with my

   6    ethics people,      say I was in a deposition this morning

   7    and a company called CHS was mentioned and the

   8    counsel from Plaintiff side mentioned this company,

   9    ask whether I should make inquiry within Holland

  10    Knight.      I would have told my ethics people this

  11    conversation and that they,        I believe, will make a

  12    determination.

  13            Q.     Okay.     I'm told that the videotape is

  14    about ready to expire, so we'll take a break.               And

  15    are you going to make that call during the break?
  16            A.     No, no.

  17                   THE VIDEOGRAPHER:     This ends disk number

  18    one.     Going off the video record,     the time is now

  19    11:16 a.m.
  20                   (A break was taken.)

  21                   THE VIDEOGRAPHER:     This begins disk number

  22    two.     We are back on the record,     the time is now

  23    11:38 a.m.

  24    BY MR. CHANEY:

  25            Q.     Dr. Zhang, who first contacted you



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   1        DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2           A.     December 10 of 2016.

   3           Q.     So --
   4           A.     But, again, this is not accurate.          I

   5    cannot make sure that is accurate time.         I need to

   6    check record.      Should be around.

   7           Q.     But apparently within a couple of weeks of

   8    your December 22 report?

   9           A.     That should be within, yeah, a couple

  10    weeks, maybe two or three weeks.        I cannot make sure

  11    the concrete time.

  12           Q.     Yeah, and I understand the concrete time.

  13    I   just want to make certain that we're talking a

  14    matter of weeks and not months or years.
  15           A.     Yes, weeks, not months or years.

  16           Q.     And I just want to make certain, you do

  17    not have a -- I think you, when I asked you about the

  18    relationship with Syngenta, you said no other current

  19    relationship.

  20                  Have you had any professional or personal

  21    relationship with Syngenta historically, you know, in

  22    the past?
  23           A.     That's correct.    I -- when I work in a

  24    previous law firm,     I assist a partner of a law firm

  25    working on Syngenta matter.



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    corn to China?
   3            A.       You know, that is some time ago, about a
   4    month ago.        I cannot recall the concrete language,
   5    but I do recall the general idea that he said that
   6    some GMO trait approval is not required.             I recall
   7    that general idea, and I disagree with that general
   8    idea.

   9                    MR. CHANEY:     I'll object as nonresponsive.
  10                    MR. DeBACKER:       I'll disagree.
  11                    MR. CHANEY:     I'm going to show you --
  12    counsel, may I -- and I only have one copy.             Well,
  13    here.        Counsel, here's a copy of Mr. Reed's depo.
  14                    MR. DeBACKER:       Thank you.
  15                    MR. CHANEY:     And, counsel, if you don't
  16   mind because it is a little cumbersome, do you mind
  17    if I approach the witness?
  18                    MR. DeBACKER:       I don't mind.
  19    BY MR. CHANEY:
  20            Q.      Dr. Zhang, I'm going to show you a
  21    transcript of the deposition of Mr. Reed, taken as a
  22   corporate representative of ADM on October 14, 2016,
  23   and I'm going to show you testimony on page 163.
  24   I'll direct your attention to line seven.
  25            A.      Okay,   I'm here.



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2          Q.     And the question asked of Mr. Reed by
   3    Mr. Naresh was, beginning at line seven:         "Right.
   4    And so my question is, if ADM is bearing the risk of
   5    it being rejected, does ADM do anything special to
   6    that shipment like, for example, test that shipment
   7    for the presence of events that aren't in the
   8    Biosafety Certificate?"
   9                 Do you see that question?
  10          A.     Yeah,   I saw that question.

  11          Q.     Okay.   And then Mr. Read answered,
  12    beginning at line 13, "So there is no requirement to
  13    do any testing for ships.      There is no legal
  14    requirement on ADM to do any testing.         It's not a
  15    requirement for the Biosafety Certificate to be part
  16    of what's in a specific shipment.         So there is no
  17    requirement that states that we do this.         This is
  18    merely an allocation of risk among the buyer and the               .
  19
                                                                           .
        seller, should an incident occur."
  20                 You see that answer?
  21          A.     Yeah,   I saw that answer.

  22         Q.     And did you -- do you recall reviewing
  23    that testimony or taking that testimony into
  24    consideration in rendering your opinions?
  25         A.      Yeah,   I do recall I -- I read the



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   1     DEPOSITION OF HONGJUN ZHANG,      Ph.D., ATTORNEY at LAW
   2    paragraphs.

   3          Q.      And when Mr. Reed refers to "biosafety

   4    certificate" -- well, let's see.        Well, Mr. Naresh
   5    referred to "biosafety certificate" in his question.
   6                  Do you have an understanding of what the

   7    biosafety certificate is?
   8          A.      When I -- when I read the paragraph,         I
   9    have understood that the biosafety certificate refer

  10    in this question/answer as the trader certificate

  11    that mentioned in my report.
  12          Q.      And that's the trader certificate that
  13    we've discussed earlier today.
  14          A.      That's correct.

  15          Q.      Do you agree with Mr. Reed that there is
  16    no legal requirement to test for the presence of

  17    GMO's in order to obtain a trader certificate?
  18          A.      You know, as I mentioned earlier,        I
  19    and, also,    I believe I would like to show you in my

  20    report that in paragraph 37, at page 15, that I
  21    disagree what Mr. -- Mr. Reed indicated in this

  22    paragraph.
  23          Q.      So you believe that testing would be
  24    required.
  25          A.      I believe that testing is required.



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   1     DEPOSITION OF HONGJUN ZHANG,      Ph.D., ATTORNEY at LAW
   2    need to look, look more thoroughly and then to say,
   3    to determine whether I have expressively make

   4    statement in my report.

   5                 But, again, if the paragraph, or the
   6    paragraph you show me, it's my opinion that Mr. Reed

   7    opinion is not correct.      I will be happy to review

   8    the report more thoroughly to say whether there were

   9    any discussion regarding this particular issue.
  10         Q.     We'll come back to that.       I don't want to

  11    take any time on the record, but I will want to
  12    confirm with you before the end of this deposition
  13    that nowhere in this report did you express your

  14    opinion that testing would be required.        But we'll

  15    come back to that.
  16         A.     I will be happy to review the -- my report

  17   more thoroughly and confirm.
  18         Q.     Are you able to point to any specific law
  19    or regulation of China that you have cited in your

  20    report that expressly requires a foreign exporter to
  21    test for the presence of unapproved GM -- genetically

  22   modified organisms in order to apply for and obtain a

  23    trader certificate?
  24         A.     You know, as -- as I mentioned, when I

  25   prepared the report,     I focus on the issues that I



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    believe are the most important, so I put my -- the
   3    three major one in the paragraph 37.           For this
   4    particular point regarding testing for shipment, I
   5    will be happy to review the law more -- more
   6    carefully, more thoroughly, to figure out the
   7    particular provision that make the statement.             But
   8    since when I prepared the report this is not the
   9    may -- the most important three issue I identified,
  10    so I cannot, you know, point the law immediately that
  11    you have this citation.      This is not a memory test.
  12         Q.     Understood.
  13                Are you aware of any interpretive guidance
  14    cited in your report that states that a foreign
  15    exporter must test for the presence of unapproved
  16    GM's in order to obtain and apply for a trader's
  17    certificate?
  18         A.     You mean interpretation documents?
  19         Q.     Yeah.    I believe -- well, we'll go back to
  20   my question, but let's -- let's get to the term
  21    "interpretive guidance."
  22                Take a look at paragraph 26 of your
  23    report.   The very first line of paragraph 26 says,
  24    "The MOA --" that's Ministry of Agriculture, right?
  25         A.     That's correct.



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   1     DEPOSI.TION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2                MR. CHANEY:     Correct?
   3                 THE WITNESS:    That -- no.      That in Chinese
   4    law require testing of GMO traits contained in the
   5    product.   Put in this way, how would you know a trait
   6    is contained, a GMO trait, is contained in a product
   7    or not without testing?
   8                MR. CHANEY:     Okay.
   9                THE WITNESS:     For me, it is not only a
  10    legal requirement, it's also should be common sense.
  11    BY MR. CHANEY:
  12         Q.     If you would, turn to paragraph 51.          And
  13    at the end of paragraph 51, you provide the Mandarin
  14    characters and language, as well as your English
  15    translation, of a document known as Article 3 of
  16    Number 349 Notice of the MOA.
  17                Do you see that?
  18         A.     Yeah, I saw that.
  19         Q.     Can you point to anything in that
  20    document, as quoted by you in paragraph 51, that
  21    requires testing?
  22         A.     For this particular paragraph, they did
  23    not talk about testing.      In the one I prepare,
  24    paragraph 51, I put the Chinese language here, was
  25    not purpose to discuss testing issue.         And the



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   1     DEPOSITION OF HONGJUN ZHANG,      Ph.D., ATTORNEY at LAW
   2    purpose of 51 paragraph when I prepare the report and

   3    still my opinion today, it's on the paragraph 51
   4    itself, which is -- if you want me read, I can read:

   5    "Both foreign GM trait developer and the foreign
   6    exporter seeking to import GMO need to apply for

   7    separate kind of import certificate.          Foreign GMO
   8    trait developer must follow the part agreement of

   9    Article 33 of GMO Regulation and the Article 12 of

  10    Import Measures.     When a foreign exporters
  11    subsequently need to obtain the trader's certificate,
  12    it must provide the following document," that I show

  13    in both Chinese and in English.       So again, the
  14    paragraph here was not talk about testing
  15    requirement.
  16                MR. CHANEY:    Let's go off the record one
  17    second.

  18                THE VIDEOGRAPHER:     Going off the record,
  19    the time is 12:03 p.m.

  20                 (Thereupon, a lunch break was taken at
  21    12:03 p.m. until 1:02 p.m., after which the following

  22    proceedings were held.)

  23                 (Mr. Haney re-joined the deposition.)
  24                THE VIDEOGRAPHER:     We are back on the
  25    video record, the time is now 1:02 p.m.



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   1     DEPOSITION OF HONGJUN ZHANG,       Ph.D., ATTORNEY at LAW
   2    fundamental requirement that a foreign trading,

   3    exporter should apply ways.        So I cannot second-guess

   4    why

   5           Q.     You just don't know, right?
   6           A.     I'm -- I'm -- I'm not the drafter for

   7    either document, so I don't know whether -- yes, I
   8    don't know why they write the document differently.

   9    But one thing I do know that for any document, any

  10    requirement provide by any Chinese law, that must be
  11    complied with in order to import agriculture GMO
  12    product into China.      Violation of any items, it's a

  13    violation.
  14           Q.     Have you counseled any clients as to how
  15    to comply with the requirements to obtain a trader

  16    certificate?
  17           A.     I counsel client on general GMO regulation

  18    of China.     I did not counsel any company particularly

  19    in applying or obtaining trader certificate.

  20           Q.     What would you advise your current client,

  21    CHS, to do in order to ensure that no unapproved GM
  22    traits are present in a shipment of U.S. corn that

  23    they're exporting to China?
  24                  MR. DeBACKER:    Objection, form,    assumes

  25    facts not in evidence.



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   1      DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2                    THE WITNESS:    Mr. Chaney, I think I
   3     mentioned in the beginning, CHS is not a company I
   4     even aware of.      You impose me that is my client.          I
   5     don't think that's fair,       and I don't think that's
   6     appropriate.
   7     BY MR. CHANEY:
   8           Q.       They are a client of your firm, right?
   9           A.       I don't know.
  10           Q.       Well, if they are a client of your firm,

  11     they're a client of yours, right?
  12                    MR. DeBACKER:    Objection, calls for a
  13     legal conclusion.
  14                    THE WITNESS:    No, this is legal, this is
  15     legal ethic issue is not something I want to testify.
  16    And CHS, do you represent a client that you don't
  17     know, Mr. Chaney?
  18    BY MR. CHANEY:
  19           Q.       Would you advise any current client, what

  20    would you advise any current client to do in order to

  21    ensure that no unapproved GM traits are present in a

  22    shipment of U.S. corn to China?
  23                    MR. DeBACKER:   Objection, form.
  24                    THE WITNESS:    If I -- I represent,     I
  25    advise a client, I will tell them for any Chinese



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    legal provision, they should comply all ways.           So any
   3    Chinese regulation --

   4                MR. CHANEY:      I'm sorry, say what?      I did

   5    not understand that last point.

   6                 THE WITNESS:     If I represent or I advise
   7    any client, I will advise them to comply with all

   8    Chinese legal requirement under all Chinese law.

   9    BY MR. CHANEY:

  10         Q.     And you said the Chinese regulations

  11    required foreign exporters to list all GM traits,

  12    right?
  13         A.     Yeah,   I said that.      A foreign exporter

  14    need to list and get approved for all foreign -- all
  15    GMO trait that they contend in the product they

  16    export into China.

  17         Q.     And you cite Article 13 and 14 in support

  18    of that obligation, right?
  19                MR. DeBACKER:      Objection, asked and

  20    answered.

  21                THE WITNESS:      I -- I cite Article 13, 14,

  22    and also I believe I asserted -- I asserted the
  23    trader certificate issued by MOA.        We can look at

  24    we can look at the        I can -- we can look at

  25    paragraph 35, item B.       I cite,   "I agree that the



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    event is a GMO event, it's a trader's obligation to
   3    fill in the GMO event information into this form.             At
   4    least you can identify, you can prove the event is
   5    not GMO at all.
   6          Q.      I just want to confirm, you did not review

   7    the application process for obtaining a trader's

   8    certificate, correct?
   9                  MR. DeBACKER:   Objection, asked and
  10    answered.
  11                  THE WITNESS:    You -- you ask me whether I
  12    review the process of obtaining the GO -- GMO trader
  13    certificate.     I will say, I -- I do review as general
  14    items, for example, the second part of Article 68 of
  15    the Q&A document, so I do review this in general
  16    terms.     I did not review the technical detail, say
  17    what the information -- what event should be
  18    constitute as a GMO or what a particular name of a
  19    GMO or such detail.
  20                  I do review the general procedure that
  21    provide in the second part of Article 68.         I do
  22    review the general requirement which identified in
  23    Article 13.     I did review the requirement under item
  24    three of MOA document 3 -- 347 -- 349.
  25         Q.       And you've never been personally involved



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    in making an application for a trader's certificate,

   3    correct?
   4          A.      Yeah.   I did not fill trader certificate
   5    by my own.

   6          Q.      What do you mean by your own?
   7          A.      I did not, I did not fill in the form,       I
   8    did not submit document,     I did not involve any

   9    particular application.
  10          Q.      And you've never advised a client on how
  11    to go through that process, have you?                                    '
                                                                             I
  12         A.       I -- I advise clients on GMO requirement

  13    and the way have a lot of detailed discussion
  14    regarding the responsibility of different parties and
  15    what's the legal obligation falls in each parties.

  16    So the clients would have clear understanding about

  17    the legal requirement of Chinese GMO law, so that
  18    they can fulfill their legal obligation to comply
                                                                             '
  19    with Chinese law.                                                    l
  20         Q.       Have you ever specifically advised a

  21    foreign exporter regarding the requirements of

  22    Article 13?
  23         A.       For foreign exporter, no,    I did not advise
  24    any foreign exporter on Article 13.
                                                                            1:

  25         Q.       Isn't it true that all that you have done



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2                MR. DeBACKER:     Objection, asked and
   3    answered.
   4                THE WITNESS:     Yes.   As I mentioned, I do
   5    advise clients on agriculture, on product
   6    import/export issue and also GMO issue, including
   7    import/export of GMO product.
   8    BY MR. CHANEY:
   9         Q.     Just to make clear, your work as a Chinese

  10    regulator did not involve agriculture or GMO issues,

  11    correct?
  12         A.     When I work in the Chinese government as a
  13    regulator, I      as indicated in my resume,      I work
  14    on -- I work in the Environmental Protection Agency,
  15    and I work on Environmental and Natural Resource
  16    Committee of National People's Congress, which is
  17    legislature of China.
  18                In that capacity, National People's
  19    Congress have nine committee, nine committees,
  20    Agriculture Committee is one.       The committee I work,
  21    the Environmental and Natural Resource Committee, is
  22    another one among other committees, as well.           So in
  23   my capacity as a regulator, the different committee,
  24    when they have laws and the regulations to draft,
  25    they call other committees staff member expert to



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    participate in discussion.      So when agricultural
   3    committee organize agricultural-related regulation, I
   4    did attend this meetings and the discussions quite
   5    frequently.
   6         Q.       We'll get into that in a little bit.
   7    Let's go back to your opinion that all GM traits in a
   8    shipment must be listed on a trader's certificate.
   9         A.       That's my statement.
  10         Q.       Right.   I'm just focusing you on that.
  11                  Do you understand that the presence of
  12    even one grain of unapproved GMO trait could result
  13    in a positive test?
  14         A.       What's one grain mean?
  15         Q.       One kernel.
  16         A.       What that mean?   I still don't understand.
  17         Q.       A kernel of corn, i t only takes one kernel
  18    of corn to generate a positive test, do you
  19   understand that?
  20         A.       What your question, if I understand if
  21    even a small portion of the product, if only small,
  22    for -- for example, a corn, like a corn, only a small
  23   portion of the corn, of one corn, have the GMO trait,
  24    then that can be tested, right, can be test all,
  25    right?



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    samples?
   3                 MR. DeBACKER:    Objection, asked and
   4    answered.

   5                 THE WITNESS:    Yeah, again, I'm not
   6    technical expert.     I don't know how the testing would
   7    be conducted, and I don't know whether in the testing
   8    that whatever will be -- you use the word "destruct."

   9    I don't really understand what's the destruct is.
  10    But, again, I want to state that I'm not technical
  11    expert, but I do, from legal expert, every, all, any
  12    GMO trait contained in a product into China must be
  13    approved by the Chinese government.
  14    BY MR. CHANEY:
  15         Q.     So is it your belief that in counseling a

  16    client, a foreign exporter, that that foreign

  17    exporter should test all, every portion of the

  18    shipment, in order to determine whether it has an

  19    unapproved trait?
  20         A.      First of all, as I mentioned,     I did not
  21    represent the foreign traders, number one.         Number

  22    two, my advice to client is they need to follow all
                                                            I
  23    the GMO laws and to make sure that all, every, any
  24    single GMO, GMO event, should be approved by the
  25    Chinese government in order to export the product



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    into China.
   3                   How they achieve that is -- it's not my
   4    technical -- it's not my -- my --·it's beyond my
   5    my expertise.       I don't want to being -- I cannot be a
   6    technical expert.
   7            Q.     And I understand that.

   8                   But what you're saying is they need to

   9    make certain that every portion of every shipment

  10    does not contain an unapproved GMO trait, right?
  11                   MR. DeBACKER:     Objection, asked and
  12    answered.
  13                   THE WITNESS:    Yes.    It -- it is a legal
  14    obligation of a foreign trader or foreign exporter to
  15    make sure every shipment of agriculture product
  16    containing GMO -- GMO should be -- they             they
  17    should be get approved.        All the GMO trait need to be
  18    approved.
  19                   MR. CHANEY:     I'm told the tape is about
  20    ready to expire, so this is time for another break.
  21                   THE VIDEOGRAPHER:      This ends disk number
  22    two.     Going off the record, the time is now 2:52 p.m.
  23                   (A break was taken.)
  24                   (Zhang deposition Exhibit Number 10 was
  25   marked for identification and attached to the



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   2    obtained the GMO event, they apply for the Chinese
   3    government.       As I mentioned a number of time that a
   4    trader certificate is a result, rather than the
   5    trader certificate said legal norm.
   6                  MR. CHANEY:     I'll again object to
   7    nonresponsive, but I'll move on.
   8                  MR. DeBACKER:    Respectfully disagree.
   9    BY MR. CHANEY:
  10          Q.      I just want to make clear, you're not

  11    rendering any opinion that any foreign exporter

  12    intentionally concealed important facts regarding or

  13   relating to the conclusion of a contract or provided

  14   any false information, are you?
  15          A.      You're -- you have long sentence.         Can you
  16   refer to which, which opinion I offer?         I offer
  17   all
  18          Q.      I

  19          A.      I offer all my opinion clearly in my
  20   report.     I don't -- I did not offer other opinion
  21   beyond my report.
  22          Q.      And in your -- I   just want to make clear,

  23   in your report, you do not express an opinion that

  24   any foreign exporter intentionally concealed

  25   important facts from either an importer or the



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    Chinese government.
   3                  MR. DeBACKER:   Objection, form.
   4                  THE WITNESS:    I still don't -- don't
   5    understand your question.      Your question seems
   6    doesn't really focus anything relate to I relate to
   7    my report.
   8         Q.       If it's beyond your report, I just want

   9   you to confirm it.

  10                  You are not rendering any opinion that any

  11    specific foreign exporter intentionally concealed

  12    facts from either an importer or the Chinese

  13    government.
  14         A.       So your question is, you want me confirm
  15   whether will be a violation of a foreign export to
  16    intentionally conceal GMO information to the Chinese

  17    government and to the China        the importer in China,
  18   whether that situation will be a violation of Chinese
  19    law, is that right?
  20         Q.       I'm not asking if it will be a violation.

  21                  Have you concluded that any violation did

  22   occur?
  23         A.       I don't understand your second part.       What
  24   did occur?
  25         Q.       Are you giving us an opinion that any



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    specific exporter --
   3            A.     I did not       again,   I did not provide

   4    opinion for any specific support            export.      I

   5    provide opinion of Chinese law that any violation,
   6    any import or conceal information to the Chinese
   7    government will be -- would be a violation of Chinese
   8    law.

   9            Q.     But you're not giving an opinion that it,
  10    in fact, occurred.
  11                   MR. DOWNING:     Objection, asked and
  12    answered.
  13                   THE WITNESS:    What you mean "occur"?
  14    BY MR. CHANEY:
  15            Q.     That the violation that you say could
  16    occur, you are not expressing an opinion that i t did,
  17    in fact, occur with regard to any specific
  18    transaction, any specific shipment or any specific
  19    exporter.
  20                   MR. DeBACKER:     Objection, form, asked and

  21    answered.
  22                   THE WITNESS:     I -- as I mentioned earlier,
  23    my report talk about all -- all situation which as
  24    long as they conceal THE information or not report
  25    GMO information to importers or to Chinese



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                                                                                :
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   2    government, that is a violation, no matter that
   3    happened yet or is happening or will happen.           So as
   4    long as they conceal GMO information to the Chinese

   5    government, that's a violation, so timing is not
   6    relevant.                                                               i
                                                                                l
   7    BY MR. CHANEY:
                                                                                l
   8         Q.     And I'm not speaking as to timing.         I just
   9    want to confirm that you are not saying that that, in
  10    fact, has occurred.
  11         A.      In my report, I can look at more detail.
  12    I do not say, recall I talk about any actual event.

  13    However, if any event happen, or any event is being
  14    happen, is happening, or any event such event will
  15    happen, as long as a foreign trader conceal GMO event               !

  16    information to the Chinese government, that is a

  17    clear violation of Chinese law.
  18         Q.     Directing your attention to paragraph 54
  19    of your report.    Paragraph 54, I believe, addresses
  20   Article 19 of the Import Measures.
  21         A.     That's correct.

  22         Q.     And you state in the last sentence, "A

  23   foreign exporter bringing goods from abroad to China
  24    shall first secure MOI -- MOA's approval before i t
  25    signs an export agreement with the Chinese importer
                                                                            i
                                                                            l




                                                                            I
'--~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~--''




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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    answered.

   3                THE WITNESS:     Yeah, as I mentioned,     I did

   4    not advise foreign traders to apply for the trader

   5    certificate for GMO.
   6    BY MR. CHANEY:

   7         Q.     So if I understand your testimony, if a

   8    shipment of corn of 60,000 metric tons is being
   9   planned, the foreign exporter would have to apply for

  10    a trader's certificate for all GM traits in that
  11    60,000 metric ton shipment before signing the
  12    contract, right?
  13                MR. DeBACKER:     Objection, asked and
  14    answered.
  15                THE WITNESS:    You mentioned number six,
  16    six or -- whatever amount.

  17                MR. CHANEY:     I'm just asking you to assume
  18    60,000 metric ton shipment.
  19                THE WITNESS:    Amount is not relevant.        No
  20   matter what amount, a foreign trader plan to export

  21    into China, before the contract is signed or execute

  22   or conclude, whatever term you prefer, that before
  23   that happen, a trader certificate must be obtained by
  24   the foreign trader.

  25   BY MR. CHANEY:



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2         A.     Currently I'm still in the green card
   3    status -- status.

   4         Q.     So you have physically lived in the United

   5    States continuously since 1999?

   6         A.     Yeah, correctly, generally true.        But

   7    certainly I travel back and forth a lot consistently.

   8         Q.     Where do you make your residence here in

   9    the United States?
  10         A.     You mean here or you mean currently or --

  11         Q.     Sure.
  12         A.     -- in a different

  13         Q.     Where do you live now?

  14         A.     I live in Fairfax, Virginia.
  15         Q.     Okay.    You've lived in the United States

  16    continuously since 1999, right?
  17         A.     Yes,    I live in the state, United States
  18    since then, even though I travel frequently back to

  19    China.

  20         Q.     Now, between 2000 and 2004, you worked a

  21    couple of blocks away from here at your first law

  22    firm, is that right?
  23         A.     That's correct.      That show in my resume, a
  24    law firm called Beveridge and Diamond.

  25                 (Deposition Exhibit Number 11 was marked



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    right?
   3            A.       Before I pass the New York bar, I work as
   4       they gave me a title called consultant.          And after
   5    I pass the New York bar, swearing in the New York
   6    bar, they give me the title of counsel.
   7            Q.      Now, you were asked a question about some

   8    of the people you have worked with, and you mentioned

   9    that you have done some legal work in the past for

  10    Syngenta, right?
  11            A.       In my time period in Beveridge Diamond,
  12    correctly I assist a partner of law firm Beveridge
  13    Diamond in some work for Syngenta.
  14            Q.      And her name, you said, was Kathy and her

  15    last name began with "S" but you couldn't remember

  16    how to spell it.

  17            A.       I will be happy --
  18                    MR. DeBACKER:     Objection, asked and
  19    answered.
  20                    MR. WATTS:     Go ahead, sir.

  21                    THE WITNESS:     That's correct, her first

  22    name is Kathy.       Last name is very long, very long
  23    name.        I seem to remember it start by "S."    Should be
  24    something Skolowitch, some very long last name.
  25            Q.      Szmuszkovicz?



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   1     DEPOSITION OF HONGJUN ZHANG,         Ph.D., ATTORNEY at LAW          l
   2         Q.      The physical distance between Kirkland &

   3    Ellis and Beveridge and Diamond is a few blocks away,

   4    right?

   5         A.      Yeah.     The physical distance between

   6    Kirkland and Beveridge Diamond is few block away,

   7    agree.

   8         Q.      And the physical distance between Holland

   9    and Knight and Kirkland and Ellis is walking distance

  10    away, across Lafayette Park, right?
  11         A.      Yes, the physical distance between Holland
                                                                              j
  12    Knight and Kirkland is in walking distance.
                                                                            :
  13         Q.      Now, you made it very clear that you did

  14    not have technical expertise to answer some of

  15    counsel's questions, right?
  16         A.      For -- yeah, for the technical question,

  17    some of them, right,         I did indicated I'm not

  18    technical expert.

  19         Q.      Yep.
                                                                            !
                                                                            :
  20         A.      I'm not intend to address technical

  21    questions.

  22         Q.      Now, what I want to do, you have your

  23    report in front of you, sir?
  24         A.      Yes,    I do.

  25         Q.      Okay.     And you started to say this.      I



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    just want to give you a chance to fully say it.

   3                 If you go to page 15, opinion number one,

   4    that is not an opinion based on technical expertise,

   5    right?    That's more of a legal conclusion, right?

   6                 MR. DeBACKER:    Objection, form,    calls for
   7    a legal conclusion.
   8                 THE WITNESS:    Yeah, opinion one is based
   9    on legal analyze, rather than based on any technical.
  10    BY MR. WATTS:
  11         Q.      So it's not a technical conclusion, it's a

  12    legal conclusion.
  13         A.      It's a legal conclusion.
  14                MR. DeBACKER:     Same objection.
  15    BY MR. WATTS:
  16         Q.     Okay.    Let's go to the next opinion, which

  17    is opinion number two on page 17.

  18                Again, that's not a technical opinion,

  19    that's a legal conclusion, right?
  20                MR. DeBACKER:     Same objection.

  21                THE WITNESS:     Yep, that is legal opinion,
  22    is not technical opinion.
  23    BY MR. WATTS:
  24         Q.     Okay.   And so that is an opinion that

  25   makes a legal conclusion, having nothing to do with



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    technical expertise, do you agree?
   3                MR. DeBACKER:     Objection, asked and
   4    answered.
   5                THE WITNESS:     Yeah, that's correct.
   6                MR. WATTS:     Okay.
   7                THE WITNESS:     That's the analyze of the
   8    Chinese law and the conclusion is a legal conclusion,
   9    rather than technical conclusion.
  10    BY MR. WATTS:
  11         Q.     Now, where I think you got cut off in your

  12    discussion with Mr. Chaney was on opinion number

  13    three and your point was, hey, I've got five sub

  14    opinions inside of opinion number three, right?
  15                MR. DeBACKER:     Objection, asked and
  16    answered.
  17                THE WITNESS:     Yeah, in the opinion three,
  18    yes, there were five sub opinions.
  19    BY MR. WATTS:
  20         Q.     Now, let's go through those just real

  21    briefly.

  22                Opinion 3.1 on page 18, that is not based

  23    on technical expertise, that's a legal conclusion,

  24    correct?
  25         A.     Opinion 3.1 is         is illegal for foreign



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    exporters to export genetically modified agricultural

   3    product into China without appropriate approval from
   4    the Chinese government.      That is legal opinion, not a

   5    technical opinion.

   6         Q.     Okay.    That's a legal conclusion, not a

   7    technically-based opinion, agree?
   8                MR. DeBACKER:     Objection, asked and

   9    answered.

  10                THE WITNESS:     Yes, that's a legal
  11    conclusion, legal opinion, not a technical opinion.

  12    BY MR. WATTS:

  13         Q.     Let's go to page 23, if we could.          And,

  14    again, I want to go through each of these because

  15    this is where you got cut off.

  16                Opinion 3.2, "The legal obligation for

  17    foreign exporters to obtain appropriate approval from

  18    the Chinese government for exporting genetically

  19   modified agricultural products into China cannot be

  20    shifted to Chinese importers."

  21                Is that based on technical expertise or is

  22    that a legal conclusion?
  23         A.     It's -- it's a legal conclusion.

  24         Q.     Fair enough.
  25                The next page, page 24, Opinion 3.3, "The



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    appropriate approval from the Chinese government for
   3    exporting GM agricultural products into China must be
   4    obtained before any export contract is signed."
   5                  Is that based on technical expertise or is
   6    that a legal conclusion?
   7         A.       Is a legal conclusion.
   8         Q.       Same page, paragraph       or Opinion 3.4,
   9    "Chinese GMO laws provide clear provisions on the
  10    consequences of exporting GM agricultural products
  11    from abroad into China prior to obtaining the
  12    appropriate approval from the Chinese government."
  13                  Again, that's a legal conclusion, not
  14   based on technical expertise, agree?
  15         A.       I agree.
  16                  MR. DeBACKER:    Objection, form.
  17                  MR. WATTS:     Paragraph
  18                  THE WITNESS:     I agree that is a legal
  19    conclusion.
  20    BY MR. WATTS:
  21         Q.       Opinion 3.5, on page 26, "An exporter of
  22   products with GMO traits that fall within the scope
  23   of Chinese GMO labeling requirements violates China's
  24   GMO labeling rules if it fails to obtain proper
  25   approval for its GMO labeling."



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2                Again, a legal conclusion, agreed?
   3         A.     Agreed, that's a legal conclusion.

   4         Q.     Now, Opinion Four, this is not based on

   5    technical background or expertise, it's a legal

   6    conclusion, as well.
   7         A.     Opinion Four, stating providing false or
   8    misleading information about the GMO trait in --

   9         Q.     Yeah.
  10         A.     -- agricultural product related to
  11    Chinese     antifraud rule in the Chinese contract
  12    law, it is a legal conclusion, is not a technical
  13    opinion.
  14         Q.     Fair enough.
  15                Page 28, Opinion Number Five, "A

  16    reasonably sophisticated exporter should have been

  17    familiar with and complied with the above Chinese GMO

  18    laws."
  19                Again, not based on technical expertise,

  20    that's a legal conclusion, right?

  21                MR. DeBACKER:     Same objection.

  22                MR. WATTS:     Go ahead, sir.

  23                THE WITNESS:     Yes, that is a legal
  24    conclusion, not technical opinion.
  25    BY MR. WATTS:



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2           Q.     Now, page 29, Opinion Number Six, "The
   3    fact that some shipments of GM agricultural products
   4    went through Chinese customs without being inspected
   5    or stopped would not legitimatize the violation of
   6    exporting GM agricultural products into China without
   7    appropriate approval from the Chinese government."
   8                  Again, that's a legal conclusion, not
   9    based on technical background.
                                                                              I
  10                  MR. DeBACKER:     Same objection.
  11                  THE WITNESS:     That's correct.    That's a
  12    legal conclusion, that's not technical opinion.
  13    BY MR. WATTS:
  14           Q.     Fair enough.
  15                  Now, let me see if we can go about i t this
  16   way.     I've got a box of documents here that I want to
  17    take you through just very briefly and get you to
  18    identify them because some of them are publications
  19    that you wrote that are not listed in your -- in your
  20    curriculum vitae, okay?        So let me hand them to you
  21   one by one and we'll go through it, okay?
  22           A.     Okay.
  23           Q.     All right.     Now, you have your report in
  24   front of you that's got your curriculum vitae in the
  25   back of it, right, Exhibit Number l?



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    good faith in exercising rights and fulfilling
   3    obligations effective of 1999, right?
   4         A.     Yeah, that's correct.

   5         Q.     Okay.   Now, I want to take you into 2001.
   6    If you could go to page 5, paragraph 12 of your
   7    report.
   8         A.     Which paragraph?     12, right?
   9         Q.     Yes, sir.
  10                And here, you talk about the import and
  11    export of commodities and you reference an import and
  12    export commodity inspection law, is that right?
  13         A.     That's correct.
  14         Q.     That happened in 2000 -- as far back as
  15    1989, is that right?
  16                MR. DeBACKER:     Objection to form.

  17                THE WITNESS:     I indicated that first
  18    promulgated at that time and then later on were
  19    amended.
  20    BY MR. WATTS:

  21         Q.     Okay.   Now, if you go back to the hundred
  22   questions answered in number 58.
  23                This document, right after the reference
  24    to the implementing rules, says, "In 2001, the State
  25   Council promulgated the Regulations on Administration



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW

   2    of Agricultural Genetically Modified Organisms of

   3    Safety," is that right?
   4          A.     Yeah,   I saw the sentence.

   5          Q.     Okay.   Now, did you participate in the

   6    promulgation of the Regulations on the Administration

   7    of Agricultural Genetically Modified Organisms of

   8    Safety in 2001?
   9                 MR. DeBACKER:     Objection, form.
  10                 THE WITNESS:     So what's your question, did
  11    I participate?

  12                MR. WATTS:      Sure.

  13                 THE WITNESS:     The drafting?

  14    BY MR. WATTS:
  15         Q.     Yeah.    You were already over here in the

  16    United States, right?
  17         A.      In 2001, I was here already.
  18         Q.     Okay.    So the answer to my question is you

  19    did not participate in the drafting of those

  20    regulations on GMO organism safety, right?
  21         A.      For the regulation you mentioned in,

  22    indicated in this paper in the question 58, in 2001,

  23    the State Council regulation,       I did not participate

  24    in the drafting.

  25         Q.     Now, if you would, go to page 26,



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    paragraph 69.       And the second part of that paragraph,
   3    about four lines down, you quote a Nongye -- I don't
   4    even know how to pronounce all that, Administrative
   5    Measures on Labeling of Agricultural GMO's,
   6    promulgated by the Ministry of Agriculture on January
   7    5th, 2002, and amended in July 1 of 2004.
   8                  Do you see that, sir?
   9         A.       Yeah,   I saw that.

  10         Q.       You were not involved in either the
  11    initial promulgation of the administrative measures
  12    on labeling or the amendments in 2004, right?
  13         A.       No,   I did not involve this regulation

  14    drafting.

  15         Q.      All right.     Now, further in 2002 -- if you
  16    could find Exhibit 42 for me that we've already
  17   marked.      This is a paper by you and Mr. Ferris in
  18    February of 2003.
  19         A.       Yeah,   I saw the paper.

  20         Q.      And if you would go to page four.
  21         A.       Uh-huh.

  22         Q.      And starting at page three, you say,
  23    "Recent examples of environmental pollution and
  24   natural resource degradation issues typically faced
  25   by regulators, investors and members of the public in



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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2    procedures for imports of GMO's and related Chinese
   3    concerns over the management of GMO's in China," and
   4    that could be found at 2002 West Law 10273382,
   5    correct?
   6         A.     Yeah, the citation is written in this way,
   7    yes, that's correct.      But this is something back to
   8    15 years ago.    That is something you cannot expect
                                                                             i
                                                                             !
   9    that I remember everything.                                          l


                                                                             i
  10         Q.     Okay.    But the bottom line is, is that
                                                                           I
                                                                             i
  11    China's issued rules concerning safety certification
  12    procedures for imports of GMO's, that was not rules
  13    that you participated in drafting, correct?
  14         A.     Correct.     I did not participate in the
  15    drafting of the GMO rule cited in the article.
  16         Q.     All right.    And then if we could, go to
  17   page 11 of your report, paragraph 26.
  18                And you reference the Q&A again, is that
  19    right?
  20         A.     Yeah,   I referred to "A" in the paragraph
  21    26 of my report.                                                   l

  22         Q.     Now, as we look at the answer to question              i
  23    58 on the document that I gave you, it says, "After

  24    this regulation was promulgated and signed, the
  25   Ministry of Agriculture --"                                         :
                                                                           '
                                                                           l


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   1     DEPOSITION OF HONGJUN ZHANG, Ph.D., ATTORNEY at LAW
   2           A.     Sorry, where you are reading?
                                                                            Ii
   3           Q.     In the middle of the page.
   4                  "After the regulation was promulgated and
   5    signed, the Ministry of Agriculture and the General
   6   Administration of Quality Supervision, Inspection and
   7    Quarantine developed five sets of regulations                         I
                                                                                  !

   8    respectively, released a genetically modified                           i

   9    organism labeling catalog system and established the
  10   management system for the research, testing,
  11   production, processing, operating, import and export
                                                                              !
  12    in this field."                                                       i
  13                  Did I read that correctly?                              l


  14           A.     Yeah, you read that --                                  l
                                                                              !
  15           Q.     You played no role in the development of
  16    those five sets of regulations, true?
  17           A.     Yeah,   I did not participate in the

  18   drafting of these rules.
  19                  MR. WATTS:   Let's take a break for the               I
                                                                              '
                                                                              i
  20   camera.
                                                                            I
  21                  THE VIDEOGRAPHER:     This ends disk number

  22   two.     Going off the video record, the time is now
                                                                              '

  23   5:23 p.m.                                                            :
                                                                            i

  24                  (Off the record.)
  25                  THE VIDEOGRAPHER:     This begins disk number



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   1      CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC
   2                 I, Donna Ann Peterson, the officer before
   3    whom the foregoing proceedings were taken, do hereby
   4    certify that the foregoing transcript is a true and
   5    correct record of the proceedings; that said
   6    proceedings were taken by me stenographically and
   7    therefore reduced to typewriting under my
   8    supervision; and that I am neither counsel for,
   9    related to nor employed by any of the parties to this
  10    case and have no interest, financial or otherwise, in
  11    its outcome.
  12                 IN WITNESS WHEREOF, I have hereunto set my
  13    hand and affixed my notarial seal this 6th day of
  14    February, 2017.
  15
  16    My commission expires:     April 14, 2019
  17
  18

  19
  20    NOTARY PUBLIC IN AND FOR THE
  21    DISTRICT OF COLUMBIA
  22
  23
  24
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